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                                                                     ArentFox Schiff LLP
                                                                     44 Montgomery Street
                                                                     38th Floor
                                                                     San Francisco, CA 94104

                                                                     415.757.5500    MAIN
                                                                     415.757.5501    FAX

January 22, 2024                                                     afslaw.com

Clerk                                                                Derek Ha
U.S. District Court for the Western District of Texas                Associate
U.S. District Clerk’s Office                                         415.757.5897    DIRECT

262 West Nueva Street, Room 1-400                                    derek.ha@afslaw.com
San Antonio, Texas 78207

Re:     Case No. 5:21-CV-844-XR, LUPE, et al. v. Abbott, et al.
        Corrected Signature Block for ECF No. 852

Dear Clerk:

Please find attached to this letter a corrected signature block for Plaintiffs’ Proposed Findings of
Fact and Conclusions of Law for Claims Under the American with Disabilities Act, Section 504
of the Rehabilitation Act, and Section 208 of the Voting Rights Act, recently filed in the above-
referenced matter as ECF No. 852. We request that the attached signature block replace the one
initially filed with ECF No. 852. The signature block has been updated to include counsel for
HAUL Plaintiffs J. Michael Showalter, Derek Ha, and Eitan Berkowitz.


Sincerely,



Derek Ha

               DH

Enclosed: Corrected signature block for ECF No. 852




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